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                                 UNITED STATES DISTRICT COURT
                                  DISTRICT OF MASSACHUSETTS


MILFORD & FORD ASSOCIATES, INC., and
D. MICHAEL COLLINS,

Plaintiffs                                           C.A. NO. 1:09-CV-11261-DPW
v.

CELL-TEK, LLC,

Defendant and Third Party Plaintiff

v.

ERIE INSURANCE EXCHANGE, et al.

Third Party Defendants


                           AFFIDAVIT OF ANYA VERKHOVSKAYA

I, Anya Verkhovskaya, being duly sworn, aver as follows:

        1.      I am the Senior Executive Vice President and Chief Operating Officer of

A.B. Data, Ltd.’s Class Action Administration Division (“A.B. Data”) in Milwaukee, Wisconsin;

West Palm Beach, Florida; San Francisco, California; and New York, New York. A.B. Data offers

a full range of class action and complex litigation support services. My business address is

600 A.B. Data Drive, Milwaukee, WI 53217. My direct telephone number is 414-961-6441.

        2.      I submit this Affidavit in connection with the class action notice administration

proceedings related to Milford and Ford Associates, Inc. v. Cell-Tek, LLC, Civil Action No. 1:09-

CV-11261-DPW (the “Action”), pending in the United States District Court for the District of

Massachusetts (the “Court”), per the terms of the Order Authorizing Notice of Class Settlement and

Conditional Certification of Class and Entry of Scheduling Order (the “Order”) and at the request of

Affidavit of Anya Verkhovskaya                                                            Page 1 of 6
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Matthew P. McCue, Esq. of The Law Office of Matthew P. McCue and Edward A. Broderick, Esq.

of Broderick Law, P.C. (“Class Counsel”).

         3.       This Affidavit is based upon my personal knowledge and upon information provided

by Class Counsel, my associates, and staff.

         4.       A.B. Data was responsible for the notice administration in this Action per the terms of

the Order, the Stipulation of Class Action Settlement (the “Stipulation”) and the request of Class

Counsel. This Affidavit details the steps taken to implement notice per the Order including:

                  a.         Distributing the Class Action Fairness Act (CAFA) Notice to the
                             respective Attorneys General;
                  b.         Distributing the Notice and Claim Form to all potential Class Members
                             via the United States Postal Service (USPS) by First-Class Mail,
                             postage prepaid;
                  c.         Disseminating the Notice and Claim Form to all potential
                             Class Members via facsimile transmission;
                  d.         Website design, publishing, and maintenance;
                  e.         Establishing a case-specific toll-free telephone line with an interactive
                             voice response (IVR) system and live operators;
                  f.         Processing Class Member requests for exclusion and objections; and
                  g.         Claim Form processing.

CAFA NOTICE

         5. On March 25, 2011, A.B. Data delivered CAFA Notices to the USPS for delivery to the

Attorney General of the United States and the Attorneys General of each state of Class Member

location/residence pursuant to the class data.1 A generic copy of the CAFA notice is attached as

Exhibit A.2




1 States of Class Member location/residence were Connecticut, Delaware, the District of Columbia, Georgia, Maine, Maryland,
Massachusetts, New Hampshire, New York, North Carolina, Pennsylvania, Rhode Island, South Carolina, Vermont, and Virginia.
2 Due to unforeseen technical issues, the exhibits referenced herein will be provided prior to the Final Approval Hearing.

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DIRECT MAIL NOTICE

         6. On or about March 18, 2011, A.B. Data received from Class Counsel the Court-approved

Notice and Claim Form documents and formatted them together for printing (the “Notice Packet”).

A copy of the Notice Packet is attached as Exhibit B.

         7. On or about March 19, 2011, A.B. Data received from Class Counsel a class data file,

which contained class identifying information for 75,205 potential Class Members (the “Class List”).

A.B. Data standardized and updated the Class List addresses using NCOALink, a national database of

address changes that is compiled by the USPS.

         8. A.B. Data established a mailing address, specifically Cell-Tek Class Action Settlement,

Settlement Administrator, c/o A.B. Data, Ltd., Post Office Box 170500, Milwaukee, WI 53217-8042,

to receive Claim Forms, exclusion requests, objections, Class Member correspondence, and

Notice Packets returned to A.B. Data by the USPS as undeliverable as addressed (UAA).

         9. On or about March 30, 2011, A.B. Data caused the Notice Packets to be printed in

preparation for mailing. As part of the printing process, each Claim Form was personalized to include

the potential Class Member’s organization name, contact person name, address, and fax number as

identified on the Class List.

        10. On April 6, 2011, A.B. Data caused the Notice Packets to be mailed to the 75,205 potential

Class Members from the Class List via the USPS by First-Class Mail, postage prepaid.

        11. As of July 29, 2011, 26,965 Notice Packets were returned by the USPS to A.B. Data as

UAA; of those returned UAA, 249 had forwarding addresses and were promptly re-mailed.3




3 Because all Class List addresses were checked against the NCOA database and updated accordingly prior to mailing, the records
returned as UAA were not checked against the database a second time after being returned.

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FACSIMILE NOTICE

       12. On or about April 22, 2011, A.B. Data formatted the facsimile version of the Notice

Packet (the “Facsimile Notice”). A copy of the Facsimile Notice is attached as Exhibit C.

       13. On April 27, 2011, A.B. Data caused the Facsimile Notice to be sent via facsimile

transmission to the 75,205 potential Class Members from the Class List. As part of the transmission

process, each Claim Form was personalized to include the potential Class Member’s organization

name, contact person name, address, and fax number as identified on the Class List.

WEBSITE DESIGN, PUBLISHING, AND MAINTENANCE

       14. On or about April 5, 2011, A.B. Data established the case-specific website for this

Action, celltekjunkfaxsettlement.com (the “Website”), in addition to a webpage on its website,

abdataclassaction.com. The Website and webpage provide general information about the Action,

allow potential Class Members to request a Notice Packet, and allow visitors to download the Notice

and Stipulation.

       15. As of July 29, 2011, the following information relating to Website and webpage activity

was recorded:

                a.      A total of 3,050 hits have been recorded at the Website;
                b.      The Notice was downloaded 1,166 times; and
                c.      The Stipulation was downloaded 578 times.

       16. The Website and webpage also allow visitors to submit address change requests, written

inquiries, and Claim Forms to info@celltekjunkfaxsettlement.com. As of July 29, 2011, a total of

794 emails have been received.

CASE-SPECIFIC TOLL-FREE HELPLINE

       17. On or about April 5, 2011, a case-specific toll-free number, 800-331-8642, was

established with an IVR system and live operators. The automated attendant answered the calls and

Affidavit of Anya Verkhovskaya                                                           Page 4 of 6
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presented callers with a series of choices to respond to basic questions. If callers needed further

assistance, they had the option to be transferred to a live operator during business hours.

       18. As of July 29, 2011, A.B. Data received 649 telephone calls and 28 voicemail messages.

All messages were returned within two business days.

EXCLUSION REQUESTS AND OBJECTIONS

       19. Exclusion requests were to be postmarked no later than July 1, 2011. As of July 29,

2011, A.B. Data has received 11 timely exclusion requests. Attached as Exhibit D is a list

identifying the individuals who submitted these requests for exclusion. Attached as Exhibit E are

the original requests for exclusion.

       20. Class Members who object to the approval of the proposed Settlement were to file their

written objections with the Court and forward a copy of the objection to A.B. Data postmarked by

July 1, 2011. As of August 1, 2011, A.B. Data has received no Class Member objections.

CLAIM FORM PROCESSING

       21. Pursuant to the Order, the claims filing deadline was July 1, 2011. Claim Forms were to

be mailed to the address outlined in the Notice Packet postmarked no later than July 1, 2011; faxed

to the fax number outlined in the Notice Packet no later than midnight, U.S. Eastern Time on July 1,

2011; or forwarded via email to the email address outlined in the Notice Packet no later than

midnight, U.S. Eastern Time on July 1, 2011.

       22. As of July 29, 2011, A.B. Data has received 12,736 Claim Forms, of which 1,218 were

duplicate Claim Forms. Therefore, the total number of valid claims as of July 29, 2011, is 11,518.

       23. The present number of Claim Forms received represents a response rate of

approximately 15%. This is a high response rate relative to similar previous class actions, which

have yielded an approximate 5% response rate.

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       24. Based on the number of Claim Forms currently received, the presently estimated pro rata

settlement award distribution per Claim Form is calculated to be approximately $85.10.4



I declare under penalty of perjury that the foregoing is true and correct.

Executed this 1st day of August 2011.


/s/ Anya Verkhovskaya
Anya Verkhovskaya
Chief Operating Officer and Senior Executive Vice President
A.B. Data
600 A.B. Data Drive
Milwaukee, WI 53217




4 This calculation presumes a service award to Plaintiff Milford & Ford in the amount of $15,000, payment of a service
award to Plaintiff D. Michael Collins in the amount of $3,000, payment of all costs and expenses of notice and
administration of the settlement in the amount of $201,727.60, and payment of attorneys’ fees to Class Counsel in the
amount of $600,000.

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         Exhibit A
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March 25, 2011

«Institution_Name»
«ATTNDepartmentBuilding»
«Address_1»
«Address_2»
«City», «State»«Zip»

Re:     Milford & Ford Associates, Inc. and D. Michael Collins v. Cell-Tek, L.L.C., et. al.
        United States District Court, District of Massachusetts, Case No: C-09-145917 CN

Dear Sir or Madam:

A.B. Data, Ltd., class action administrator, on behalf of Milford & Ford Associates, Inc., and D. Michael
Collins, the Class Plaintiffs in the above-referenced action, hereby provides the following notice pursuant to
Section 1715 of the Class Action Fairness Act (28 U.S.C. § 1715). The following are the items of
information called for in Section 1715(b).

  1. A copy of the Complaint and the Amended Complaint are included electronically on the enclosed
     disc.
  2. The Final Approval Hearing is currently scheduled for August 16, 2011, at 3:30 p.m., before the
     Honorable Douglas P. Woodlock, in the United States District Court for the District of Massachusetts,
     One Courthouse Way, Boston, Massachusetts 02210.
  3. The Court-approved Notice is enclosed as Exhibit B to the Stipulation of Class Action Settlement (the
     “Stipulation”).
  4. The Stipulation in this matter is included electronically on the enclosed disc.
  5. There is no other agreement contemporaneously made between class counsel and counsel for the
     defendants.
  6. The Court’s opinion preliminarily approving the Stipulation is enclosed.
  7. Because it is not feasible to include the names of all class members who reside in each state, enclosed
     is a reasonable estimate of the number of class members residing in each state and the estimated
     proportionate share of their claims.


                                                          Sincerely,



                                                          A.B. Data, Ltd.
                                                          Class Action Administrator on
                                                          Behalf of Plaintiff
  Enclosures
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         Exhibit B
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                                UNITED STATES DISTRICT COURT
                                 DISTRICT OF MASSACHUSETTS

MILFORD & FORD ASSOCIATES, INC.,
and D. MICHAEL COLLINS,

Class Action Plaintiffs

v.                                               C.A. NO. 1:09-CV-11261-DPW

CELL-TEK, LLC,

Defendant and Third-Party Plaintiff

v.

ERIE INSURANCE EXCHANGE, L. STEIN
CO. INC. d/b/a FAXVANTAGE, LEONARD
(LENNY) STEIN, individually, and
UNIXUSA, LLC

 Third Party Defendants.
_______________________________________

  THIS NOTICE CONCERNS SETTLEMENT OF A CLASS ACTION WHICH MAY ENTITLE
             YOU TO RECEIVE A PAYMENT FROM SETTLEMENT FUND

                     By order of the Honorable Douglas P. Woodlock, Judge of the
                                      United States District Court
                                    for the District of Massachusetts

WHY AM I GETTING THIS NOTICE?
Records obtained in this case indicate that in November of 2007, an unsolicited facsimile advertisement
was transmitted to you, or your company, by a company identified as “Cell-Tek,” in alleged violation of
the federal Telephone Consumer Protection Act (TCPA). If you, or your company, used the facsimile
number listed on the first page of the enclosed Claim Form, in November of 2007, you may be entitled to
a recovery of up to $500. To file a claim you need only fill out the enclosed Claim Form and mail, fax or
e-mail it back to the identified Settlement Administrator. The deadline to file a claim by mailing back the
Claim Form is July 1, 2011.

THIS IS NOT NOTICE OF A LAWSUIT AGAINST YOU.
The purpose of this Notice is to advise you of a proposed settlement of a class action lawsuit against
Cell-Tek, LLC in the United States District Court for the District of Massachusetts. This Notice describes
the case in general and does not address all of the issues in detail. You may review the case file at the
office of the Clerk of the Court of the United States District Court for the District of Massachusetts, One
Courthouse Way, Boston, Massachusetts 02210. You may inspect the file and copy it at your expense,
you may contact the Settlement Administrator at the toll-free telephone number 1-800-331-8642, or you
may view and download a copy of the Stipulation of Class Action Settlement at
CellTekJunkFaxSettlement.com.


QUESTIONS? VISIT CELLTEKJUNKFAXSETTLEMENT.COM OR CALL 1-800-331-8642                             Page 1 of 4
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WHAT IS THIS LAWSUIT ABOUT?
The lawsuit alleges that Cell-Tek violated the federal Telephone Consumer Protection Act,
47 U.S.C. §227 (“TCPA”), by sending out an unsolicited facsimile advertisement offering its goods or
services in November 2007. The case seeks damages for class members consisting of those to whom the
fax was allegedly transmitted. Cell-Tek denies that it violated any laws or that it did anything wrong.
Cell-Tek has agreed to the settlement solely to avoid the burden, expense, risk and uncertainty of
continuing the lawsuit. The Court has preliminarily certified this matter as a class action for settlement
and has ordered that Class members be notified of the proposed settlement. Cell-Tek’s records reflect that
you may be a Class member. The Class consists of:

       All persons or entities within the United States to whom Cell-Tek, in or about
       November of 2007, sent or caused to be sent the facsimile advertisement identical in
       substance to the Cell-Tek Fax attached to the Class Complaint.

WHY IS THIS A CLASS ACTION?
In a class action, one or more people or entities, called “class representatives” (in this case, Milford &
Ford Associates, Inc. and D. Michael Collins), sue on behalf of people who have similar claims. All of
these people together are a “class” or “class members.” The settlement, if approved by the Court, resolves
the issues for all members of the Class (the “Settlement Class Members”), but not for those who act to
exclude themselves from the Class in the manner further described below.

WHY IS THERE A SETTLEMENT?
The Court did not decide in favor of Plaintiffs, the Settlement Class or Defendant Cell-Tek. Instead, the
parties have agreed to a settlement. This avoids the cost, risk, and delay of further litigation. Under the
settlement, Settlement Class Members will have the opportunity to obtain a payment in exchange for
giving up certain legal rights. The Class Representatives and the attorneys think the Settlement is in the
best interests of all Settlement Class Members.

WHAT DOES THE SETTLEMENT PROVIDE?
The total amount of the Settlement Fund is $1,800,000. The lawyers who brought this lawsuit (listed on
the following page and referred to as “Class Counsel”) will ask the Court to award them one-third of the
Settlement Fund and actual costs, for the substantial time and effort they put into this case over the past
few years. Class Representative, Milford & Ford, will apply to the Court for payment of $15,000 in
recognition of its service to the Settlement Class. Class Representative D. Michael Collins will request
$3,000 for his services. Any amount awarded will be paid from the Settlement Fund. The Settlement
Fund will also cover costs associated with notice and administration of the settlement. These costs
include the cost of mailing this Notice, as well as, the costs of administering the Settlement Fund.
Attorneys’ fees, service payments, and the expenses of notice and administration will be deducted from
the Settlement Fund before the balance is divided and distributed to members of the Settlement Class.

HOW MUCH WILL I BE PAID?
If the Court approves the settlement, every Settlement Class Member who submits a timely and valid
Claim Form will be entitled to an equal payment from the Settlement Fund. The amount of your payment
will depend on how many Settlement Class Members return Claim Forms. The maximum amount you
will receive is $500.

HOW CAN I GET A PAYMENT?
To qualify for a payment, you must send in a complete and timely Claim Form. A Claim Form is
enclosed with this Notice. You also may obtain a Claim Form at CellTekJunkFaxSettlement.com.


QUESTIONS? VISIT CELLTEKJUNKFAXSETTLEMENT.COM OR CALL 1-800-331-8642                             Page 2 of 4
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Please complete the Claim Form, sign it, and mail it to the address listed on the Claim Form postmarked
no later than July 1, 2011. You also may fax the Claim Form to the Settlement Administrator at
1-414-961-7427, or e-mail the Claim Form to the Settlement Administrator at
info@CellTekJunkFaxSettlement.com. If you fax or e-mail the Claim Form, you must do so no later than
midnight, U.S. Eastern Standard Time on July 1, 2011. If you do not return the Claim Form or if you
return it late, you will not get a payment.

WHEN WILL I BE PAID?
If the Court approves the settlement, you will be paid as soon as possible after the court order becomes
final. If there is an appeal of the settlement, payment may be delayed. The Settlement Administrator will
provide information and updates about the timing of payment, as this information becomes available, at
CellTekJunkFaxSettlement.com.

WHO REPRESENTS THE SETTLEMENT CLASS?
The attorneys who have been appointed by the Court to represent the Settlement Class are:


 Edward A. Broderick, Esq.                               Matthew P. McCue, Esq.
 THE LAW OFFICE OF EDWARD A. BRODERICK                   THE LAW OFFICE OF MATTHEW P. MCCUE
 727 Atlantic Avenue, Second floor                       340 Union Avenue
 Boston, MA 02111                                        Framingham, MA 01702


WHAT ARE MY OPTIONS?
Your choices are to:

(1) Accept the settlement. To accept the settlement, send in a complete and timely Claim Form. A
Claim Form is enclosed with this Notice.               You also may obtain a Claim Form at
CellTekJunkFaxSettlement.com. If the settlement is approved, a check will be mailed to you. If you
change your address, or your address has changed from the address to which this notice was sent, please
inform the Settlement Administrator at the address below; OR

(2) Exclude yourself. You may “opt out” and exclude yourself from the settlement. If you opt out, you
will not receive any cash payment, and you will not release any claims you may have against Cell-Tek. If
you opt out, you will be free to pursue whatever legal rights you may have by pursuing your own lawsuit
against Cell-Tek at your own risk and expense. To opt out from the settlement, you must mail a signed
letter to the Settlement Administrator (address on the following page) postmarked by July 1, 2011, stating
your name, address and telephone number, the name and case number of the case, and that you have made
the decision to exclude yourself from the settlement; OR

(3) Object to the settlement. If you object to the settlement, submit your objection in writing to the
Clerk of the Court of the United States District Court for the District of Massachusetts, One Courthouse
Way, Boston, MA 02210, postmarked by July 1, 2011, stating your objection in Milford & Ford
Associates, Inc. and D. Michael Collins v. Cell-Tek, LLC, Civil Action No. 1:09-cv-11261-DPW. You
must also send a copy of your objection to the Settlement Administrator at the address on the following
page, also by postmarked by July 1, 2011. Any objection to the proposed settlement must be a complete
written statement of all grounds for the objection, together with factual and legal support for the stated
objection. A member of the Settlement Class may appear at the Final Approval Hearing in person or
through counsel to show cause why the proposed settlement should not be approved as fair, reasonable,
and adequate. Attendance at the hearing is not necessary; however, persons wishing to be heard orally in


QUESTIONS? VISIT CELLTEKJUNKFAXSETTLEMENT.COM OR CALL 1-800-331-8642                            Page 3 of 4
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opposition to the approval of the settlement and/or the request for attorneys’ fees and/or the request for
compensation awards to the class representatives are required to indicate in their written objection their
intention to appear at the hearing, and must offer a complete statement of grounds for the objection,
together with all factual and legal authority for the stated objection, and state the identity of any witnesses
they may call to testify and exhibits they intend to introduce into evidence at the Final Approval Hearing.
Objections must also state the name, address, telephone number and signature of the objector.

WHAT RIGHTS AM I GIVING UP IN THIS SETTLEMENT?
If the Court gives final approval to the Settlement, Members of the Settlement Class will be deemed to
have released their rights to sue or continue a lawsuit against Cell-Tek and others related to past fax
transmissions by or on behalf of Cell-Tek that allegedly violate state or federal law. Giving up your legal
claims is called a release.

WHEN WILL THE COURT DECIDE WHETHER TO APPROVE THE SETTLEMENT?
The Court will hold a Final Approval Hearing (the “Hearing”) at 3:30 p.m. on August 16, 2011. The
Hearing will be held at the United States District Court for the District of Massachusetts, One Courthouse
Way, Boston, Massachusetts 02210. At the Hearing, the Court will consider whether the proposed
settlement is fair, reasonable, and adequate. The Court will hear objections to the settlement, if any. At
the Hearing, the Court will also decide how much to pay Class Counsel. After the Hearing, the Court will
decide whether to approve the Settlement. It is not known how long the Court will take to make its
decision. In addition, the Hearing may be continued at any time by the Court without further notice to
you. If the Court does not approve the settlement, or if it approves the settlement and the approval is
reversed on appeal, or if the settlement does not become final for some other reason, you will not be paid
at this time and the case will continue. The parties may negotiate a different settlement or the case may
go to trial.

DO NOT ADDRESS QUESTIONS ABOUT THE SETTLEMENT OR THE LAWSUIT TO THE
CLERK OF THE COURT OR TO THE JUDGE. INSTEAD, PLEASE DIRECT QUESTIONS
TO:

                             CELL-TEK CLASS ACTION SETTLEMENT
                                SETTLEMENT ADMINISTRATOR
                                      c/o A.B. DATA, LTD.
                                   POST OFFICE BOX 170500
                                  MILWAUKEE, WI 53217-8042

                                         Toll-Free 1-800-331-8642



DATED: MARCH 16, 2011




QUESTIONS? VISIT CELLTEKJUNKFAXSETTLEMENT.COM OR CALL 1-800-331-8642                                 Page 4 of 4
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                                                                       CLAIM FORM
                                                                     Milford & Ford Associates, Inc. and
                                                                     D. Michael Collins v. Cell-Tek, LLC,
                                                                     Civil Action No. 1:09-cv-11261-DPW
       <NOTICE ID NUMBER>
       <NOTICE ID BARCODE>
       <ORGANIZATION>                                                  Fax Number: <FAX >
       <FIRST NAME > <LAST NAME>, <TITLE>
       <STREET>
       <CITY> <STATE> <ZIP >                                               CELLTEKFAX
                                                                           For Official Use Only




              PROOF OF CLAIM FOR RECIPIENTS OF FAX ADVERTISEMENTS

You have received Notice of Settlement of Class Action because phone records obtained during the
course of litigation indicate that the facsimile number indicated above, may have been used by you or
your company in November of 2007, and that the fax number was used to transmit to you or your
company an unsolicited facsimile advertisement from a business identified as “Cell-Tek,” in alleged
violation of the federal Telephone Consumer Protection Act. As a result, you or your company may be
entitled to receive a settlement payment of up to $500. To receive a payment from the Settlement Fund,
you must complete and return this Claim Form.

Please complete the Claim Form, including all information on the reverse of this page, sign it, and return
it by one of the following methods:

1. By mail to the Settlement Administrator, postmarked no later than July 1, 2011, at the following
   address:
                         CELL-TEK CLASS ACTION SETTLEMENT
                              SETTLEMENT ADMINISTRATOR
                                     c/o A.B. DATA, LTD.
                                 POST OFFICE BOX 170500
                                  MILWAUKEE, WI 53217

2. By fax to the Settlement Administrator at 1-414-961-7427 no later than midnight, U.S. Eastern
   Standard Time, on July 1, 2011.

3. By e-mail to the Settlement Administrator at info@CellTekJunkFaxSettlement.com no later than
   midnight, U.S. Eastern Standard Time, on July 1, 2011. If you use e-mail, you must send the Claim
   Form in a format that includes a legible signature.




QUESTIONS? VISIT CELLTEKJUNKFAXSETTLEMENT.COM OR CALL 1-800-331-8642                               Page 1 of 2
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PLEASE PROVIDE THE FOLLOWING INFORMATION FOR THE CLAIMANT:

 LAST NAME OR NAME OF COMPANY:

 FIRST NAME:

 STREET ADDRESS:

 CITY:                                                  STATE:

 ZIP CODE:


 PHONE NUMBER (at which we may reach you if we have questions):
          -                -


Did you or your company use the fax number listed in the top-right corner on the first page of this
Claim Form on or around November 2007?


                                  YES________     NO_________



Claimant’s Signature: _______________________________


Date: ____________________________________________


IF YOU HAVE ANY QUESTIONS CONCERNING THIS CLAIM FORM, YOU MAY CALL
FOR ASSISTANCE AT 1-800-331-8642.

                          CELL-TEK CLASS ACTION SETTLEMENT
                             SETTLEMENT ADMINISTRATOR
                                   c/o A.B. DATA, LTD.
                                POST OFFICE BOX 170500
                               MILWAUKEE, WI 53217-8042




QUESTIONS? VISIT CELLTEKJUNKFAXSETTLEMENT.COM OR CALL 1-800-331-8642                      Page 2 of 2
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         Exhibit C
             Case 1:09-cv-11261-DPW Document 90-2 Filed 08/01/11 Page 17 of 49




                                                                                     CLAIM FORM
                                                                                  Milford & Ford Associates, Inc. and
                                                                                  D. Michael Collins v. Cell-Tek, LLC,
                                                                                  Civil Action No. 1:09-cv-11261-DPW
        #NOTICEIDNUMBER#

        #ORGANIZATION#                                                               Fax Number: #FAX#
        #FIRSTNAME# #LASTNAME#, #TITLE#
        #STREET#
        #CITY# #STATE# #ZIP#                                                             For Official Use Only




IMPORTANT NOTE: ALL CLASS MEMBERS ARE TO RECEIVE DIRECT MAIL NOTICE
AND FAX NOTICE PER THE COURT’S PRELIMINARY APPROVAL ORDER. IF YOU HAVE
ALREADY SUBMITTED A CLAIM FORM IN THIS MATTER, IT IS NOT NECESSARY TO
SUBMIT ANOTHER.       YOU MAY CALL THE SETTLEMENT ADMINISTRATOR AT
1-800-331-8642 WITH ANY QUESTIONS.


                 PROOF OF CLAIM FOR RECIPIENTS OF FAX ADVERTISEMENTS

You have received Notice of Settlement of Class Action because phone records obtained during the
course of litigation indicate that the facsimile number indicated above, may have been used by you or
your company in November of 2007, and that the fax number was used to transmit to you or your
company an unsolicited facsimile advertisement from a business identified as “Cell-Tek,” in alleged
violation of the federal Telephone Consumer Protection Act. As a result, you or your company may be
entitled to receive a settlement payment of up to $500. To receive a payment from the Settlement Fund,
you must complete and return this Claim Form.

Please complete the Claim Form, including all information on the reverse of this page, sign it, and return
it by one of the following methods:

1. By mail to the Settlement Administrator, postmarked no later than July 1, 2011, at the following
   address:
                         CELL-TEK CLASS ACTION SETTLEMENT
                              SETTLEMENT ADMINISTRATOR
                                     c/o A.B. DATA, LTD.
                                 POST OFFICE BOX 170500
                                  MILWAUKEE, WI 53217

2. By fax to the Settlement Administrator at 1-414-961-7427 no later than midnight, U.S. Eastern
   Standard Time, on July 1, 2011.

3. By e-mail to the Settlement Administrator at info@CellTekJunkFaxSettlement.com no later than
   midnight, U.S. Eastern Standard Time, on July 1, 2011. If you use e-mail, you must send the Claim
   Form in a format that includes a legible signature.


QUESTIONS? VISIT CELLTEKJUNKFAXSETTLEMENT.COM OR CALL 1-800-331-8642                                               Page 1 of 2
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PLEASE PROVIDE THE FOLLOWING INFORMATION FOR THE CLAIMANT:

 LAST NAME OR NAME OF COMPANY:

 FIRST NAME:

 STREET ADDRESS:

 CITY:                                                                  STATE:

 ZIP CODE:


 PHONE NUMBER (at which we may reach you if we have questions):
          -                -



Did you or your company use the fax number listed in the top-right corner on the first page of this
Claim Form on or around November 2007?


                                           YES________           NO_________



Claimant’s Signature: _______________________________


Date: ____________________________________________


IF YOU HAVE ANY QUESTIONS CONCERNING THIS CLAIM FORM, YOU MAY CALL
FOR ASSISTANCE AT 1-800-331-8642.

                                 CELL-TEK CLASS ACTION SETTLEMENT
                                    SETTLEMENT ADMINISTRATOR
                                          c/o A.B. DATA, LTD.
                                       POST OFFICE BOX 170500
                                      MILWAUKEE, WI 53217-8042




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                                      UNITED STATES DISTRICT COURT
                                       DISTRICT OF MASSACHUSETTS

MILFORD & FORD ASSOCIATES, INC.,
and D. MICHAEL COLLINS,

Class Action Plaintiffs

v.                                                        C.A. NO. 1:09-CV-11261-DPW

CELL-TEK, LLC,

Defendant and Third-Party Plaintiff

v.

ERIE INSURANCE EXCHANGE, L. STEIN
CO. INC. d/b/a FAXVANTAGE, LEONARD
(LENNY) STEIN, individually, and
UNIXUSA, LLC

 Third Party Defendants.
_______________________________________

  THIS NOTICE CONCERNS SETTLEMENT OF A CLASS ACTION WHICH MAY ENTITLE
             YOU TO RECEIVE A PAYMENT FROM SETTLEMENT FUND

                         By order of the Honorable Douglas P. Woodlock, Judge of the
                                          United States District Court
                                        for the District of Massachusetts

WHY AM I GETTING THIS NOTICE?
Records obtained in this case indicate that in November of 2007, an unsolicited facsimile advertisement
was transmitted to you, or your company, by a company identified as “Cell-Tek,” in alleged violation of
the federal Telephone Consumer Protection Act (TCPA). If you, or your company, used the facsimile
number listed on the first page of the enclosed Claim Form, in November of 2007, you may be entitled to
a recovery of up to $500. To file a claim you need only fill out the enclosed Claim Form and mail, fax or
e-mail it back to the identified Settlement Administrator. The deadline to file a claim by mailing back the
Claim Form is July 1, 2011.

THIS IS NOT NOTICE OF A LAWSUIT AGAINST YOU.
The purpose of this Notice is to advise you of a proposed settlement of a class action lawsuit against
Cell-Tek, LLC in the United States District Court for the District of Massachusetts. This Notice describes
the case in general and does not address all of the issues in detail. You may review the case file at the
office of the Clerk of the Court of the United States District Court for the District of Massachusetts, One
Courthouse Way, Boston, Massachusetts 02210. You may inspect the file and copy it at your expense,
you may contact the Settlement Administrator at the toll-free telephone number 1-800-331-8642, or you
may view and download a copy of the Stipulation of Class Action Settlement at
CellTekJunkFaxSettlement.com.

QUESTIONS? VISIT CELLTEKJUNKFAXSETTLEMENT.COM OR CALL 1-800-331-8642                                               Page 1 of 4
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WHAT IS THIS LAWSUIT ABOUT?
The lawsuit alleges that Cell-Tek violated the federal Telephone Consumer Protection Act,
47 U.S.C. §227 (“TCPA”), by sending out an unsolicited facsimile advertisement offering its goods or
services in November 2007. The case seeks damages for class members consisting of those to whom the
fax was allegedly transmitted. Cell-Tek denies that it violated any laws or that it did anything wrong.
Cell-Tek has agreed to the settlement solely to avoid the burden, expense, risk and uncertainty of
continuing the lawsuit. The Court has preliminarily certified this matter as a class action for settlement
and has ordered that Class members be notified of the proposed settlement. Cell-Tek’s records reflect that
you may be a Class member. The Class consists of:

        All persons or entities within the United States to whom Cell-Tek, in or about
        November of 2007, sent or caused to be sent the facsimile advertisement identical in
        substance to the Cell-Tek Fax attached to the Class Complaint.

WHY IS THIS A CLASS ACTION?
In a class action, one or more people or entities, called “class representatives” (in this case, Milford &
Ford Associates, Inc. and D. Michael Collins), sue on behalf of people who have similar claims. All of
these people together are a “class” or “class members.” The settlement, if approved by the Court, resolves
the issues for all members of the Class (the “Settlement Class Members”), but not for those who act to
exclude themselves from the Class in the manner further described below.

WHY IS THERE A SETTLEMENT?
The Court did not decide in favor of Plaintiffs, the Settlement Class or Defendant Cell-Tek. Instead, the
parties have agreed to a settlement. This avoids the cost, risk, and delay of further litigation. Under the
settlement, Settlement Class Members will have the opportunity to obtain a payment in exchange for
giving up certain legal rights. The Class Representatives and the attorneys think the Settlement is in the
best interests of all Settlement Class Members.

WHAT DOES THE SETTLEMENT PROVIDE?
The total amount of the Settlement Fund is $1,800,000. The lawyers who brought this lawsuit (listed on
the following page and referred to as “Class Counsel”) will ask the Court to award them one-third of the
Settlement Fund and actual costs, for the substantial time and effort they put into this case over the past
few years. Class Representative, Milford & Ford, will apply to the Court for payment of $15,000 in
recognition of its service to the Settlement Class. Class Representative D. Michael Collins will request
$3,000 for his services. Any amount awarded will be paid from the Settlement Fund. The Settlement
Fund will also cover costs associated with notice and administration of the settlement. These costs
include the cost of mailing this Notice, as well as, the costs of administering the Settlement Fund.
Attorneys’ fees, service payments, and the expenses of notice and administration will be deducted from
the Settlement Fund before the balance is divided and distributed to members of the Settlement Class.

HOW MUCH WILL I BE PAID?
If the Court approves the settlement, every Settlement Class Member who submits a timely and valid
Claim Form will be entitled to an equal payment from the Settlement Fund. The amount of your payment
will depend on how many Settlement Class Members return Claim Forms. The maximum amount you
will receive is $500.

HOW CAN I GET A PAYMENT?
To qualify for a payment, you must send in a complete and timely Claim Form. A Claim Form is
enclosed with this Notice. You also may obtain a Claim Form at CellTekJunkFaxSettlement.com.

QUESTIONS? VISIT CELLTEKJUNKFAXSETTLEMENT.COM OR CALL 1-800-331-8642                                               Page 2 of 4
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Please complete the Claim Form, sign it, and mail it to the address listed on the Claim Form postmarked
no later than July 1, 2011. You also may fax the Claim Form to the Settlement Administrator at
1-414-961-7427, or e-mail the Claim Form to the Settlement Administrator at
info@CellTekJunkFaxSettlement.com. If you fax or e-mail the Claim Form, you must do so no later than
midnight, U.S. Eastern Standard Time on July 1, 2011. If you do not return the Claim Form or if you
return it late, you will not get a payment.

WHEN WILL I BE PAID?
If the Court approves the settlement, you will be paid as soon as possible after the court order becomes
final. If there is an appeal of the settlement, payment may be delayed. The Settlement Administrator will
provide information and updates about the timing of payment, as this information becomes available, at
CellTekJunkFaxSettlement.com.

WHO REPRESENTS THE SETTLEMENT CLASS?
The attorneys who have been appointed by the Court to represent the Settlement Class are:


 Edward A. Broderick, Esq.                                          Matthew P. McCue, Esq.
 BRODERICK LAW, P.C.                                                THE LAW OFFICE OF MATTHEW P. MCCUE
 727 Atlantic Avenue, Second floor                                  340 Union Avenue
 Boston, MA 02111                                                   Framingham, MA 01702


WHAT ARE MY OPTIONS?
Your choices are to:

(1) Accept the settlement. To accept the settlement, send in a complete and timely Claim Form. A
Claim Form is enclosed with this Notice.               You also may obtain a Claim Form at
CellTekJunkFaxSettlement.com. If the settlement is approved, a check will be mailed to you. If you
change your address, or your address has changed from the address to which this notice was sent, please
inform the Settlement Administrator at the address below; OR

(2) Exclude yourself. You may “opt out” and exclude yourself from the settlement. If you opt out, you
will not receive any cash payment, and you will not release any claims you may have against Cell-Tek. If
you opt out, you will be free to pursue whatever legal rights you may have by pursuing your own lawsuit
against Cell-Tek at your own risk and expense. To opt out from the settlement, you must mail a signed
letter to the Settlement Administrator (address on the following page) postmarked by July 1, 2011, stating
your name, address and telephone number, the name and case number of the case, and that you have made
the decision to exclude yourself from the settlement; OR

(3) Object to the settlement. If you object to the settlement, submit your objection in writing to the
Clerk of the Court of the United States District Court for the District of Massachusetts, One Courthouse
Way, Boston, MA 02210, postmarked by July 1, 2011, stating your objection in Milford & Ford
Associates, Inc. and D. Michael Collins v. Cell-Tek, LLC, Civil Action No. 1:09-cv-11261-DPW. You
must also send a copy of your objection to the Settlement Administrator at the address on the following
page, also by postmarked by July 1, 2011. Any objection to the proposed settlement must be a complete
written statement of all grounds for the objection, together with factual and legal support for the stated
objection. A member of the Settlement Class may appear at the Final Approval Hearing in person or
through counsel to show cause why the proposed settlement should not be approved as fair, reasonable,
and adequate. Attendance at the hearing is not necessary; however, persons wishing to be heard orally in
QUESTIONS? VISIT CELLTEKJUNKFAXSETTLEMENT.COM OR CALL 1-800-331-8642                                               Page 3 of 4
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opposition to the approval of the settlement and/or the request for attorneys’ fees and/or the request for
compensation awards to the class representatives are required to indicate in their written objection their
intention to appear at the hearing, and must offer a complete statement of grounds for the objection,
together with all factual and legal authority for the stated objection, and state the identity of any witnesses
they may call to testify and exhibits they intend to introduce into evidence at the Final Approval Hearing.
Objections must also state the name, address, telephone number and signature of the objector.

WHAT RIGHTS AM I GIVING UP IN THIS SETTLEMENT?
If the Court gives final approval to the Settlement, Members of the Settlement Class will be deemed to
have released their rights to sue or continue a lawsuit against Cell-Tek and others related to past fax
transmissions by or on behalf of Cell-Tek that allegedly violate state or federal law. Giving up your legal
claims is called a release.

WHEN WILL THE COURT DECIDE WHETHER TO APPROVE THE SETTLEMENT?
The Court will hold a Final Approval Hearing (the “Hearing”) at 3:30 p.m. on August 16, 2011. The
Hearing will be held at the United States District Court for the District of Massachusetts, One Courthouse
Way, Boston, Massachusetts 02210. At the Hearing, the Court will consider whether the proposed
settlement is fair, reasonable, and adequate. The Court will hear objections to the settlement, if any. At
the Hearing, the Court will also decide how much to pay Class Counsel. After the Hearing, the Court will
decide whether to approve the Settlement. It is not known how long the Court will take to make its
decision. In addition, the Hearing may be continued at any time by the Court without further notice to
you. If the Court does not approve the settlement, or if it approves the settlement and the approval is
reversed on appeal, or if the settlement does not become final for some other reason, you will not be paid
at this time and the case will continue. The parties may negotiate a different settlement or the case may
go to trial.

DO NOT ADDRESS QUESTIONS ABOUT THE SETTLEMENT OR THE LAWSUIT TO THE
CLERK OF THE COURT OR TO THE JUDGE. INSTEAD, PLEASE DIRECT QUESTIONS
TO:

                                 CELL-TEK CLASS ACTION SETTLEMENT
                                    SETTLEMENT ADMINISTRATOR
                                          c/o A.B. DATA, LTD.
                                       POST OFFICE BOX 170500
                                      MILWAUKEE, WI 53217-8042

                                               Toll-Free 1-800-331-8642



DATED: MARCH 16, 2011




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         Exhibit D
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                          Milford v. Cell-Tek
      Name:                                   Fax Number:    Postmark Date:
1)    D-Star Engineering Corporation          203-925-7631   4/12/2011
2)    McLean Engineering Company, Inc.        229-985-2248   5/6/2011
3)    Lancaster Level-Flo, Inc.               717-653-9806   4/13/2011
4)    Maryland State Highway Administration                  5/4/2011
5)    Clearwater Plumbing Inc                 770-443-7249 5/5/2011
6)    Sun-Tastic Decks, Inc.                  703-266-2116 4/28/2011
7)    Pickering, Corts & Summerson, Inc.      215-968-3649 4/28/2011
8)    Brian M Gaff                            (781) 581-9134 6/25/2011
9)    Rinker Design Assoc                     703-257-5443 6/27/2011
10)   Clean-Rite Services                     910-592-4043 7/5/2011
11)   Marietta Gravity Water Company          717-426-7031 7/2/2011
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         Exhibit E
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